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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
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&lt;CENTER&gt;NO. 03-9&lt;A NAME="1"&gt;9&lt;/A&gt;-00&lt;A NAME="2"&gt;735&lt;/A&gt;-CR&lt;/CENTER&gt;


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&lt;CENTER&gt;&lt;A NAME="3"&gt;Eric Simpson&lt;/A&gt;, Appellant&lt;/CENTER&gt;


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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt;
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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;The State of Texas, Appellee&lt;/CENTER&gt;
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&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF &lt;A NAME="4"&gt;BELL&lt;/A&gt; COUNTY, &lt;A NAME="5"&gt;27TH&lt;/A&gt; JUDICIAL DISTRICT&lt;/CENTER&gt;
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&lt;P&gt;&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. &lt;A NAME="6"&gt;48,465&lt;/A&gt;, HONORABLE &lt;A NAME="7"&gt;JOE CARROLL&lt;/A&gt;, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
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Appellant Eric Simpson pleaded guilty in June 1998 to delivering cocaine.  &lt;EM&gt;See&lt;/EM&gt;
Tex. Health &amp;amp; Safety Code Ann. § 481.112 (West Supp. 2000).  The district court deferred
adjudication and placed appellant on community supervision.  In September 1999, the court
revoked supervision on the State's motion, adjudged appellant guilty, and assessed punishment
at incarceration in a state jail for two years.

&lt;P&gt;Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of &lt;EM&gt;Anders v. California&lt;/EM&gt;, 386 U.S.
738 (1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  &lt;EM&gt;See also&lt;/EM&gt; &lt;EM&gt;Penson v. Ohio&lt;/EM&gt;, 488 U.S. 75 (1988); &lt;EM&gt;High v. State&lt;/EM&gt;,
573 S.W.2d 807 (Tex. Crim. App. 1978); &lt;EM&gt;Currie v. State&lt;/EM&gt;, 516 S.W.2d 684 (Tex. Crim. App.
1974); &lt;EM&gt;Jackson v. State&lt;/EM&gt;, 485 S.W.2d 553 (Tex. Crim. App. 1972); &lt;EM&gt;Gainous v. State&lt;/EM&gt;, 436 S.W.2d
137 (Tex. Crim. App. 1969).  A copy of counsel's brief was delivered to appellant, and appellant
was advised of his right to examine the appellate record and to file a pro se brief.  No pro se brief
has been filed.&lt;/P&gt;

&lt;P&gt;We have reviewed the record and counsel's brief and agree that the appeal is
frivolous and without merit.  We find nothing in the record that might arguably support the
appeal.&lt;/P&gt;

&lt;P&gt;The judgment of conviction is affirmed.   &lt;/P&gt;

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&lt;P&gt;				&lt;SPAN STYLE="text-decoration: underline"&gt;                                                                       
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&lt;P&gt;				Lee Yeakel, Justice&lt;/P&gt;

&lt;P&gt;Before Chief Justice Aboussie, Justices B. A. Smith and Yeakel&lt;/P&gt;

&lt;P&gt;Affirmed&lt;/P&gt;

&lt;P&gt;Filed:   January 6, 2000&lt;/P&gt;

&lt;P&gt;Do Not Publish&lt;/P&gt;

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